      Case 8:04-cr-00235-DKC Document 1793-1 Filed 10/29/15 Page 1 of 2
            Case    8:04-cr-00235-RWT          Document       1790      Filed 09/23/15     Page   1 of 2



                              IN THE UNITED STATES DISTRICT COURT                                 AlEO              ENTERED
                                  FOR THE DISTRICT OF MARYLAND                                    lOGGED.           RECEIVED


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UNITED       STATES OF AMERICA                            *
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                                                          *
v.                                                        *    Criminal Case No. RWT-04-0235
                                                          *
                                                          *
LAVON DOBIE                                               *
                                                          *
                                                          *
                                                          *
                                                       ORDER

          The      Court   reduced   Lavon   Dobie's    sentence      from   170 months    to 152 months      on

December        10.2014.    ECF No. 1729. That reduction will be effective on November              1.2015.   Id.

On March 3. 2015. Dobie tiled a Motion to Correct Sentence [ECF No. 1761] stating that the

Bureau of Prisons illegally increased her sentence to 156 months.                 Dobie's motion appears to be

based on a misunderstanding           of a Bureau of Prisons' document.         The Bureau of Prisons has not

increased     Dobie's sentence       to 156 months.     Rather. the Bureau of Prisons used a 156-month

sentence to calculate her release date to be November                I. 2015. the effective date of her sentence

reduction.      Id. at 5. It appears that. on November        I. 2015. Dobie will be released.    As Dobie has

not suffered the harm she claims to have suffered, there is no basis for her motion. and it will be

denied.     Accordingly.     it is. this 21 st day of September.     2015. by the United States District Court

for the District of Maryland,
      Case 8:04-cr-00235-DKC Document 1793-1 Filed 10/29/15 Page 2 of 2
         Case       8:04-cr-00235-RWT   Document       1790     Filed 09/23/15    Page   2 of 2



        ORDERED, that Defendant's Motion to Correct Sentence [ECF No. 1761] is DENIED;

and it is further

        ORDERED, that the Clerk shall mail a copy of this Order to Defendant.



                                                                            /s/
                                                                     ROGER W. TITUS
                                                              UNITED STATES DISTRICT JUDGE




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